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 1   Ayvazyan is wrong—and the above-referenced evidence is not as substantial as
 2   Ayvazyan believes—the jury will reject his argument. The government is ably
 3   represented by a large team of prosecutors that has been preparing for this argument.
 4         The requested instruction is substantially identical to the model instruction (it
 5   adds only a summary of Count 1 of the indictment). To the extent the Court deems
 6   Ayvazyan’s language inadvisable, Ayvazyan would consent to using the Ninth Circuit
 7   Model Instruction’s language. This is a model instruction and the government will not
 8   be prejudiced by its use.
 9         B.     Text of Proposed Instructions
10
           This afternoon, the government argued that the Ninth Circuit’s model instruction
11
     could cause confusion because of the government’s charges of two conspiracies in
12
     Count 1 and Count 26. That argument is easily resolved by the fact that the two
13
     charges—each of which involve an alleged conspiracy of the same eight people with
14
     the same allegedly fraudulent loan applications and proceeds—each merit an individual
15
     instruction reflecting that they are worthy of individual consideration.
16
                  1.    Proposed Multiple Conspiracies Jury Instruction Regarding
17                      Count 1
18         Proposed Multiple Schemes Jury Instruction Regarding Count 1:
19         Count 1 of the indictment alleges one overall conspiracy to commit wire fraud
20         and bank fraud. You must decide whether the one overall conspiracy to commit
21         wire fraud and bank fraud charged in Count 1 of the indictment existed, and, if it
22         did, who at least some of its members were. If you find that the single overall
23         conspiracy to commit wire fraud and bank fraud charged in Count 1 did not exist,
24         then you must return a not guilty verdict, even though you may find that some
25         other conspiracy existed. For example, if you find that Count 1 concerns two or
26         more conspiracies, you must find the defendants not guilty of the single
27         conspiracy alleged in Count 1. Similarly, if you find that any defendant was not
28         a member of the conspiracy to commit wire fraud and bank fraud charged in
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 1         Count 1, then you must find that defendant not guilty, even though that defendant
 2         may have been a member of some other conspiracy.
 3   Model Crim. Jury Instr. 9th Cir. 8.22 (2021) (modified to reflect the charges in the
 4   indictment).
 5                  2.   Proposed Multiple Conspiracies Jury Instruction Regarding
 6                       Count 26
           Proposed Multiple Conspiracies Jury Instruction Regarding Count 26:
 7
           Count 26 of the indictment alleges one overall conspiracy to commit (a)
 8
           concealment money laundering in violation of Section 1956(a)(1)(B)(i) of Title
 9
           18 of the United States Code and (b) transactional money laundering in violation
10
           of Section 1957 of the same title. You must decide whether the one overall
11
           conspiracy to commit either type of money laundering charged in Count 26 of the
12
           indictment existed, and, if it did, who at least some of its members were. If you
13
           find that the single overall conspiracy to commit money laundering charged in
14
           Count 26 did not exist, then you must return a not guilty verdict, even though you
15
           may find that some other conspiracy existed. For example, if you find that Count
16
           26 concerns two or more conspiracies, you must find the defendants not guilty of
17
           the single conspiracy alleged in Count 26. Similarly, if you find that any
18
           defendant was not a member of the conspiracy to commit money laundering
19
           charged in Count 26, then you must find that defendant not guilty, even though
20
           that defendant may have been a member of some other conspiracy.
21
22
23   II.   PROPOSED INSTRUCTION REGARDING THEORY OF THE DEFENSE
           AND MULTIPLE SCHEMES
24
           A.       Support for Proposed Instruction
25
26         The evidence must establish “a single scheme to defraud” in order to convict on

27   the wire and bank fraud counts. See United States v. Wellington, 754 F.2d 1457, 1463

28   n.3 (9th Cir. 1985). The same factors apply to an indictment charging a single scheme
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 1          to commit wire fraud and bank fraud alleged in Counts 2 through 20 of the
 2          indictment existed, and, if it did, who at least some of its members were. If you
 3          find that the single overall scheme to commit wire fraud and bank fraud charged
 4          in Counts 2 through 20 did not exist, then you must return a not guilty verdict,
 5          even though you may find that some other scheme or schemes existed. For
 6          example, if you find that Counts 2 through 20 concern two or more schemes, you
 7          must find the defendants not guilty of the single scheme charged in Counts 2
 8          through 20. Similarly, if you find that any defendant was not a member of the
 9          scheme to commit wire fraud and bank fraud charged in Counts 2 through 20,
10          then you must find that defendant not guilty, even though that defendant may
11          have been a member of some other scheme.
12   III.   CONCLUSION
13          The Defendant respectfully requests that the Court instruct the jury on multiple
14   conspiracies and multiple schemes.
15   Dated: June 23, 2021                   Respectfully submitted,
16
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